Case 2:04-cr-20417-SH|\/| Document 41 Filed 05/17/05 Page 1 of 2 Page|D 54

IN THE UNITED sTATES DISTRICT couRT Fiil'i@ ?-"f'~~~ `

 

 

  

FoR TH:E: wEsTERN DISTRICT oF TENNESSEE
wESTER.N DrvrsroN GSF'W 17 H I= 146
l~i`o;).,- . … :zuiio
C'L.EF;L\ :r`k>|. CT,
W o or “: r-\.-',Er‘,wpms

UNI'I‘ED STATES OF AMERICA ,
Plaintiff,
vs. CR. NO. 04-20417-Ma

ANTHONY TOWNER ,

-_/`__/-__z~_,~_¢~./\_/-_/\_/

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period fron\ March. 25, 2005 through June l7, 2005 is
excludable under 18 U.S.C. §§ 3161(h) (8) (B) (iv) and 3161(11} (l) (F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

. /')M\
IT IS SO ORDERED thlS day Of May', 2005.

y%/"~L__»

me mcth _:]Qet h 7 SAMUEL H. MAYS, JR.
th P.ur`e L,-:" ami/or 32{13) FHCrF on ';2@*-@“§":`@"£ UNITED STATES DISTRICT JUDGE

 

This doeumer‘:t ordered on

UNITD s"sATE DISTRIC COURT - WEERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20417 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

HoWard L. Wagerman
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Michael Robert McCusker
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

